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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

) Case No.: 2:21-cv-02550 GW-PVC

ANTONIO OWENS, )

)
Plaintiff, ) [PROPOSED] ORDER OF

V. ) DISMISSAL

)

CREDENCE RESOURCE )
MANAGEMENT, LLC, ) Judge: Hon. George H. Wu

)

Defendant. )

 

AND NOW, this 26th of October , 2021, upon review of

 

the stipulation of dismissal filed by the Parties, it is hereby ORDERED that the
case shall be dismissed with prejudice with each side bearing its own fees and

costs.

SO ORDERED:

Afrge Hy be—

Hon. George H. Wu
U.S. DISTRICT JUDGE

 

 

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